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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - -x
UNITED STATES OF AMERICA                                      SUPERSEDING INDICTMENT

               -        v.      -                             Sl 13 Cr. 48 (RPP)

IWYCE CORLEY        I


    a/k/a "Ron Iron,"                                                                       - --   - ·-·   ----~
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                             Defendant.                                 DOCl !MEi'\l
- - - - - - - - - - - - - - - - -x                                      ELECTfZONICAl.LY FILED
                                                                        DOC i<
                                                  COUNT ONE
                                                                        l!?:~~-1~:i~:r~~Q_cb~=~~---
                                         ( Sex Trafficking of a Minor)

               The Grand Jury charges:

               1.             From at least in or about August 2011, up to and

including in or about January 2012 . in the Southern District of

New York and elsewhere, ROYCE CORLEY, a/k/a "Ron Iron," the

defendant, willfully and knowingly . in and affecting interstate

commerce, did recruit, entice, harbor, transport, provide,

obtain, and maintain, by any means. a person, and did benefit,

:Einancially and by receiving anything of value, from

participation in a venture which has engaged in any such act,

knowing and in reckless disregard of the fact that the person

had not attained the age of 18 years and would be caused to

engage in a commercial sex act, to wit, CORLEY recruited,

enticed, transported, provided, and maintained a person who was

1ess than 18 years old ("Minor Vic·:im-1"), and who was caused to

engage in at least one commercial :3ex act that benefitted CORLEY
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financially .

    (Title 18, United States Code, Sections 1591(a} & (b) (2)).

                                COUNT TWO

                       {Sex Trafficking of a Minor)

          The Grand Jury further charges:

           2.      From at least . in or about June 2011, up to and

including in or about January 2012, in the Southern District of

New York and elsewhere, ROYCE CORLE:Y, a/k/a "Ron Iron," the

defendant, willfully and knowingly, in and affecting interstate

commerce, did recruit, entice, harbor, transport, provide,

obtain, and maintain, by any means, a person, and did benefit,

financially and by receiving anything of value, from

participation in a venture which has engaged in any such act,

               .
knowing and in reckless
                     .
                        disregard of the fact that the person

had not attained the age of 18 years and would be caused to

engage in a commercial sex act, to wit, CORLEY recruited,

emticed, transported, provided, and maintained a person who was

less than 18 years old ("Minor Vict:im-2"), and who was caused to

engage in at least one commercial Elex act that benefitted CORLEY

financially.

   (Title 18, United States Code, Sections 1591(a) & (b) (2)).




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                              COUNT TEREE

                     (Sex Trafficking of a Minor)

           The Grand Jury further d:.arges :

           3.    From at least in or about June 2011, up to and

including in or about November 2011, in the Southern District of

New York and elsewhere, ROYCE CORLEY, a/k/a "Ron Iron," the

defendant, willfully and knowingly, in and affecting interstate

commerce, did recruit, entice, harbor, transport, provide,

obtain, and maintain, by any means, a person, and did benefit,

financially and by receiving anything of value, from

participation in a venture which hc:.s engaged in any such act,

knowing and in reckless disregard of the fact that the person

had not attained the age of 18 years and would be caused to

engage in a commercial sex act, to wit, CORLEY recruited,

enticed, transported, provided, and maintained a person who was

less than 18 years old ("Minor Vict.im-3"), and who was caused to

engage in at least one commercial e:ex act that benefitted CORLEY

financially.

    (Title 18, United States Code, Sections 159l(a) & (b) (2)).

                              COUNT FOUR

                 (Possession of Child Pornography)

          The Grand Jury further charges:

          4.    In or about January 2012, in the Southern

District of New York and elsewhere, ROYCE CORLEY, a/k/a "Ron




                                   3
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Iron," the defendant, knowingly did possess, and access with

intent to view, a book, magazine, periodical, film, videotape,

computer disk, and other material that contained an image of

child pornography that had been mailed, and shipped and

transported using a means and facility of interstate and foreign

commerce and in and affecting interstate and foreign commerce by

any means, including by computer,       c;~nd   that was produced using

materials that had been mailed, and shipped and transported in

and affecting interstate and forei9n commerce by any means,

including by computer, to wit, CORLEY possessed on a thumb drive

photographs containing child pornography.

      (Title 18, United States Code, Section 2252A(a) (5) (B)).


                        FORFEITURE ALLEGATIONS

           5.   As a result of committing the sex trafficking

offenses as alleged in Counts One through Three of this

Superseding Indictment, ROYCE CORLEY, a/k/a "Ron Iron," the

defendant, shall forfeit to the United States, pursuant to Title

18, United States Code, Section 1594:           (1) any property, real and

personal, used or intended to be ui::ed to commit or to facilitate

the commission of the offenses; and (2) any property, real and

:personal, constituting or ·-aerived from, any proceeds obtained,

directly or indirectly, as a result of the offenses.

          6.    As a result of committing the child pornography

offense alleged in Count Four of       t~is     Superseding Indictment,



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ROYCE CORLEY, a/k/a "Ron Iron,n the defendant, shall forfeit to

the United States, pursuant to Title 18, United States Code,

Section 2253, all right, title, and interest of the defendant in

any and all visual depictions produced, transported, mailed,

shipped, or received in violation of Chapter 110 of Title 18,

Part I, United States Code; any property, real or personal,

constituting or traceable to gross profits or other proceeds

obtained from such offense; and any property, real or personal,

used or intended to be used to commit or to promote the

commission of such offense alleged in Count Four of this

Superseding Indictment, including but not limited to the

following:

             (a)   Any and all visual depictions of a minor involved

in sexually explicit conduct as defined in Title 18, United

States Code, Section 2256(8); and

             (b)   Any and all computers and other equipment

involved in sexually explicit conduct as defined in Title 18,

United States Code, Section 2256(8).

                         Substitute Asse!t Provision

             7.    If any of the above-described forfeitable

property, as a     res~lt:   of any act or omission of the defendant:

             (a) cannot be located upon the exercise of due

diligence;




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              (b) has been transferred or sold to, or deposited

with, a third person;

              (c) has been placed beyond the jurisdiction of the

Court;

              (d) has been substantially diminished in value; or

              (e) has been commingled with other property which

cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to 21 U.S.C.

§   853(p) and 28   u.s.c.   §   246l(c), to seek forfeiture of any

other property of said defendant up to the value of the above

forfeitable property.

         (Title 18, United States Code, Sections 1594 and 2253;
            Title 21, United States Codes, Section 853; and
              Title 28, United States Code, Section 2461.)




                                           PREET BHARARA
                                           United States Attorney




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             Form No. USA-33s-274                    (Ed. 9-25-58)




                 UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF NEW YORK




                    UNITED STATES ()F AMERICA

                                     - v. -

                           ROYCE COF:LEY,
                         a/k/a "Ron Iron,"

                                Defendant.




                     SUPERSEDING INDICTMENT

                        Sl 13 Cr. 43 (RPP)

 {18 U. S . C . § § 15 91 (a)    &    ( b) {.2 ) ,    and 2 2 5 2A {a) {5 ) ( B) ) .




                                                             PREET BHARARA
                                        Un~ted             States Attorney.




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